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IN THE UNITED STATES DISTRICT COURT FOR THE
District of Colorado

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Case No: 02-cv-O1239-MSK-KLM

Michael V. Pugh, et al.
Defendants

JUDGE KRIEGER

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United States of
America

W
Third Party Respondents
Francis‘Schaeffer Cox,

Third Party Intervenor/
Movant

MOTION FOR INTERVENTION or RIGHT AND
PERMISSIVE INTERVENTION PURSUANT To
FED.R,cIv,P, 24(a),(b) j

Comes dow the Third Party Intervening Plaintiff, Francis Schae-
ffer Cox, and he moves this Court for permission to intervene in this
matter pursuant to Fed.R.Civ.P.`24(a)(b)q In support, Cox states as
follows: 4 ` »

1) This is a case in which thevBy line Regulation of the Federal
Bureau of Prisons Disciplinary Policy was declared un-Con-
stitutional on a plea for declaratory, and injunctive relief
by Piaintiff August 9, 2007q ` ' ,

2) From November 4, 2016 to December 15, 2016, said regulation
was enforced by the Bureau of Prison contrary to the perm-

anent injunction this case, against Third Party Intervening

Plaintiff Cox.

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3) On December 29, 2016, Cox first attempted to move this Court
as Intervenor for a Motion`for Civil and Criminal Contempt°
This motion was interpreted by the Clerk, without authority,
as a "letter", and returned to Cox January 24, 2016n

4) Cox has an interest in the transaction which is the subject
of this action, namely the injunction barring enforcement of
the Byline Regulation, and as a practical matter,is impaired,
and impeded from enforcing said interest without a grant
of intervenor status pursuant to Fed.R°Civ.P. 2é(a)°

5) CoX seeks to enforce the injunction in this case, and, th@s
has a claim or defense thatshares with the main action a
common question of law or fact pursuant to Fed,R°Civ.P, 24(b)°

6) Cox`motion is timely, as it was brought immediately after
the breach of the injunction became known..

7) Pursuant to Fed°R.Civ°P. 24(0), the pleading setting out Coxk
claim is attached.

For the above good cause shown, Cox moves this Court for inter-

vention of right, and permissive intervention in the above mattero

 

 

I hereby certify that this Motion for Intervention of Right and
Permissive Intervention pursuant to Fed° R. Civ; P. 24(a)(b) was
mailed to the Clerk of the Court, First Class Postage prepaid, for
posting upon the Electronic Filing Sys em t ' &da /f Ja iary? 2017°

   
 
  
 

  

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Marion, IL 62959

 

